

People v Jackson (2023 NY Slip Op 01168)





People v Jackson


2023 NY Slip Op 01168


Decided on March 07, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 07, 2023

Before: Renwick, J.P., Singh, Kennedy, Mendez, Rodriguez, JJ. 


Ind. No. 3487/07 Appeal No. 17455 Case No. 2015-375 

[*1]The People of the State of New York, Respondent,
vLaron Jackson, Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Lorraine Maddalo of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Robert Butlien of counsel), for respondent.



Order, Supreme Court, New York County (Eduardo Padro , J.), entered on or about December 10, 2013, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court properly exercised its discretion in declining to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). The mitigating factors claimed by defendant, including his youth at the time of the underlying crime, were not shown to reduce his particular risk of reoffense, were adequately taken into account by the risk assessment instrument, or were outweighed by the seriousness of the violent sex crime
(see People v Bulina, 205 AD3d 526 [1st Dept 2022], lv denied 38 NY3d 914 [2022]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 7, 2023








